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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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      ESSOCIATE INC.,                )              SACV 12-02156 JVS (RNBx)
11                                   )
                                     )              ORDER OF DISMISSAL UPON
12              Plaintiff,           )
                                     )              SETTLEMENT OF CASE
13         v.                        )
                                     )
14    VOOM MEDIA CORP, etc.,         )
                                     )
15              Defendant(s).        )
                                     )
16                                   )
      ______________________________ )
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18          The Court having been advised by the counsel for the parties that the above-
19    entitled action has been settled,
20      IT IS ORDERED that this action be and is hereby dismissed in its entirety without
21    prejudice to the right, upon good cause being shown within 35 days, to reopen the
22    action if settlement is not consummated.
23
24    DATED:       November 15, 2013
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25                                                   James V. Selna
                                                  United States District Judge
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